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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                     :
    EVERYTOWN FOR GUN SAFETY                         :
    ACTION FUND, INC.,
                                                     :        Civil Action No. 1:21-cv-8704
                                 Plaintiff,
                                                     :
           v.
                                                     :        DECLARATION OF DELIA
    DEFCAD, INC.; ODYSEE USER                                 GREEN IN SUPPORT OF
                                                     :
    XYEEZYSZN; DEFCAD USER                                    PLAINTIFF’S APPLICATION
    XYEEZYSZN; ODYSEE USER                           :        FOR ORDER TO SHOW CAUSE
    THEGATALOG-PRINTABLEMAGAZINES;                            FOR A PRELIMINARY
    THE GATALOG; DEFCAD USER                         :        INJUNCTION, EXPEDITED
    FREEMAN1337; TWITTER USER                        :        DISCOVERY, AND
    XYEEZYSZN; PHILLIP ROYSTER.                               ALTERNATIVE SERVICE
                                                     :
                                 Defendants.
                                                     :



I, Delia Green, declare as follows1:

          1.     I am over eighteen (18) years old and I am competent to testify to the facts in this

Declaration based on my personal knowledge.

          2.     I am a paralegal at Venable LLP, counsel for Plaintiff Everytown for Gun Safety

Action Fund, Inc. (“Everytown”) and I am resident in New York City.

          3.     I submit this declaration in support of Everytown’s Application and to describe

the availability and advertisement of Defendants’ Infringing Products to New York consumers

on online websites www.odysee.com, www.defcad.com, and www.ctrlpew.com.

          4.     Defendants’ Infringing Products are available on either Odysee.com or

Defcad.com, and I was able to view the Infringing Product listings as a member of the general



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    All undefined terms herein are defined as in Plaintiff’s Complaint.
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public, and resident of New York City. To view the Defendants’ listings, Odysee.com and

Defcad.com did not require a password, and the listings were publicly available.

       5.      On Odysee, I was able to view and download copies of Defendants’ Infringing

Products without any password, or other information required.

       6.      On Defcad, to access downloadable copies of Defendants’ Infringing Products, I

was required to create an account with Defcad, and to submit a subscription fee.

       7.      On Ctrlpew, I was not able to directly access downloadable copies of Defendants’

Infringing Products, but I was re-directed over to linked pages of the Defendants’ Infringing

Products on Odysee.

Defendant Odysee User XYeezySZN

       8.      Defendant Odysee User XYeezySZN uploaded the downloadable file containing

3-D printing instructions for “Everytown—Firebolt Magwell (R) 5.56 Bolt Catch” to Odysee on

August 20, 2021.

       9.      The downloadable file containing the 3-D printing instructions is accessible via

the link: https://odysee.com/@xYeezySZN:f/EverytownFireboltMagwell:f

       10.     Accessing the link, I was able to download Defendant Odysee User

XYeezySZN’s 3-D printing instructions for “Everytown—Firebolt Magwell (R) 5.56 Bolt

Catch”.

       11.     True and correct screenshots depicting Defendant Odysee User XYeezySZN’s 3-

D printing instructions for “Everytown—Firebolt Magwell (R) 5.56 Bolt Catch” available on

Odysee are attached hereto as Exhibit A.

       12.     Defendant Odysee User XYeezySZN also uploaded a downloadable file

containing 3-D printing instructions for “Moms Demand—Firebolt Magwell (R) 5.56 Bolt

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Catch” to Odysee on August 20, 2021.

       13.    The downloadable file containing the 3-D printing instructions is accessible via

the link: https://odysee.com/@xYeezySZN:f/MomsDemandFirebolt:7

       14.    Accessing the link from New York, I was able to download Defendant Odysee

User XYeezySZN’s 3-D printing instructions for “Moms Demand—Firebolt Magwell (R) 5.56

Bolt Catch”. True and correct screenshots are attached as Exhibit B.

Defendant Defcad User XYeezySZN

       15.    Defendant Defcad User XYeezySZN uploaded a downloadable file containing 3-

D printing instructions for “Moms Demand Action—Firebolt 5.56 Bolt Catch Magwell” to

Defcad.com on August 25, 2021.

       16.    The downloadable file containing the 3-D printing instructions is accessible via

the link: https://defcad.com/library/2d0f5a72-3147-4076-9ed9-9aa843710f67/

       17.    Accessing the link from New York, I was able to click “add to cart” to put

Defendant Defcad User XYeezySZN’s 3-D printing instructions for “Moms Demand Action—

Firebolt 5.56 Bolt Catch Magwell” in my cart, which then required a user account on Defcad to

complete the download process. True and correct screenshots are attached as Exhibit C.

       18.    Defendant Defcad User XYeezySZN also uploaded the downloadable file

containing 3-D printing instructions for “Everytown—Firebolt 5.56 Bolt Catch (R) Magwell

Panel” to Defcad.com on August 25, 2021.

       19.    The downloadable file containing the 3-D printing instructions is accessible via

the link: https://defcad.com/library/b53093c0-5214-475a-bb23-fc7684ef1ff3/

       20.    Accessing the link from New York, I was able to click “add to cart” to put

Defendant Defcad User XYeezySZN’s 3-D printing instructions for “Everytown—Firebolt 5.56

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Bolt Catch (R) Magwell Panel” in my cart, which then required a user account on Defcad to

complete the download process. True and correct screenshots are attached as Exhibit D.

Defendant Odysee User TheGatalog-PrintableMagazines

       21.     Defendant Odysee User TheGatalog-PrintableMagazines uploaded the

downloadable file containing 3-D printing instructions for “‘Everytown’ 3D Printable AR15 22lr

Magazine” to Odysee on June 25, 2021.

       22.     The downloadable file containing the 3-D printing instructions is accessible via

the link: https://odysee.com/@TheGatalog-PrintableMagazines:6/everytown-cmmg-22lr-mag-

25round:f

       23.     Accessing the link from New York, I was able to download Defendant Odysee

User TheGatalog-PrintableMagazines’s 3-D printing instructions for “Everytown’ 3D Printable

AR15 22lr Magazine”. True and correct screenshots are attached as Exhibit E.

Defendant The Gatalog

       24.     Defendant The Gatalog linked and promoted a listing for “Everytown’ 3D

Printable AR15 22lr Magazine” to www.ctrlpew.com.

       25.     The listing promoting the 3-D printing instructions is accessible via the link:

https://ctrlpew.com/file-drop-everytown-3d-printable-ar15-22lr-magazine/

       26.     When clicking the box below the word “download” on ctrlpew.com, the link

directs consumers to Defendant Odysee User TheGatalog-PrintableMagazines’ Odysee listing

page for Everytown’ 3D Printable AR15 22lr Magazine, from which I was able to download in

New York 3-D printing instructions for “Everytown’ 3D Printable AR15 22lr Magazine”. True

and correct screenshots are attached as Exhibit F.

Defendant Defcad User Freeman1337

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       27.    Defendant Defcad User Freeman1337 uploaded the downloadable file containing

3-D printing instructions for “Everytown’ 3D Printable AR15 22LR Magazine” to Defcad.com

on June 26, 2021.

       28.    The downloadable file containing the 3-D printing instructions is accessible via

the link: https://defcad.com/library/c4e0a685-04ad-4034-ab25-44f90b09a725/

       29.    Accessing the link from New York, I was able to click “add to cart” to put

Defendant Defcad User Freeman1337’s 3-D printing instructions for “Everytown’ 3D Printable

AR15 22LR Magazine” in my cart, which then required a user account on Defcad to complete

the download process. True and correct screenshots are attached as Exhibit G.

Defendant Defcad

       30.    Defendant Defcad charged my credit card a $50 subscription fee on September

24, 2021. The merchant listed on my credit card bill is the entity DD Foundation LLC.

       31.    DD Foundation LLC is a limited liability company located in the State of Texas

and is the listed merchant for Defcad.com even though the payment on Defcad.com was made by

a New York State resident.




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      I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Dated: October 20, 2021




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